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                 EXHIBIT E
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                        PROCÈS VERBAL DE SAISIE CONTREFACON
L'AN DEUX MILLE DIX NEUF et le SEIZE OCTOBRE
à 10       heures 50       minutes


À LA DEMANDE DE :

IPCom GmbH & Co. KG, société de droit allemand ayant la forme d'une Kommanditgesellschaft, dont le siège
social est Zugspitzstrasse 15, 82049 Pullach, Allemagne, immatriculée au registre des sociétés de Munich
(Allemagne) sous le N° HRA 93950, représentée par son associé commandité IPCom Beteiligungs GmbH, société
de droit allemand ayant la forme d'une Gesellschaft mit beschränker Haftung, dont le siège social est
Zugspitzstrasse 15, 82049 Pullach, Allemagne, elle-même représentée par son Geschäftsführer (gérant) domicilié
en cette qualité audit siège,

Ayant pour avocats :

SELAS BARDEHLE PAGENBERG
Agissant par Maître Julien Fréneaux
Avocat au Barreau de Paris
Demeurant 5 rue Boudreau – 75009 Paris

Elisant domicile en son Cabinet ainsi qu’en mon étude.

Je, Caroline BRESSAND, Huissier de Justice Associée au sein de la Selarl ATLAS JUSTICE, Huissiers de Justice, près le
Tribunal de Grande Instance de Nanterre, ayant son siège social à PUTEAUX (92800), 14 Terrasse Bellini et bureau annexe à
ANTONY (92160), 10 avenue de la Providence, soussignée


Agissant en vertu :

D’une requête aux fins de saisie contrefaçon déposée le 15 octobre 2019 devant Madame ou Monsieur le
Président du Tribunal de Grande Instance de PARIS et d’une ordonnance rendue par Gilles Buffet, vice-président
agissant par délégation de Monsieur le Président du Tribunal de Grande Instance de Paris, en date du 15 octobre
2019.
Lesquelles requête et ordonnance ont été signifiées ce jour préalablement à mes opérations de saisie
contrefaçon.

Me suis rendue ce jour au siège de la Société LENOVO FRANCE 20 rue des Deux Gares 92500 RUEIL
MALMAISON

Accompagnée de :
Monsieur Eric LAURENT RICARD, expert informatique, EXPERACT, 2 rue Maurice Hartmann à ISSY LES
MOULINEAUX (92300)
Ayant signé le présent procès-verbal.

A 9 h 45, nous nous présentons à l’hôtesse de l’accueil et demandons à être reçu par le directeur juridique de la
société LENOVO France.
L’hôtesse m’indique que le directeur juridique de la société Lenovo, Monsieur Adrien DIXNEUF, est à Bratislava.
Elle le contacte par téléphone que je puisse m’entretenir avec lui. Je lui décline mon identité et l’objet de ma
mission. Je lui demande, en son absence, à être reçu par le Directeur Général de la société Lenovo France. Il me
précise que Monsieur Eric LALLIER n’est pas actuellement sur le site de Rueil Malmaison. Il me demande de
patienter quelques instants afin de se renseigner sur la personne présente dans les locaux de Rueil Malmaison
qui serait habilitée à me recevoir.
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A 10 h 20, nous sommes reçu par une personne à qui je décline mon identité, ma profession et l’objet de ma
mission. Il me déclare être le directeur financier de la société Lenovo France et se nommer Denis CHATARD.

Après avoir procédé à la signification de la requête et de l’ordonnance dont je suis porteuse, Monsieur Chatard
en prend connaissance ainsi que Monsieur Adrien Dixneuf, à qui la requête et l’ordonnance est adressée par mail.

A 10 h 50, Messieurs Chatard et Dixneuf me déclarent ne pas s’opposer à la mission.

Je débute ainsi mes opérations de saisie contrefaçon conformément aux termes de l’ordonnance dont je suis
porteuse :

Je demande expréssément à ce que les produits argués de contrefaçon visés dans l’ordonnance me soient
présentés.


Monsieur Chatard fait appel à Monsieur Bertrand BRAUX, responsable technique Lenovo (téléphones portables).
Il m’indique que les produits Motorala sont vendus par Lenovo. Il déclare effectuer des recherches pour
récupérer les exemplaires visés par l’ordonnance.

Monsieur Kristof HOUBEN, Directeur des produits Lenovo nous rejoint à 11 h 15. Il m’indique que si des
ordinateurs portables sont commercialisés en France, ils le sont par des grossistes et qu’il n’est pas en possession
d’ordinateurs sur le site.

Il me précise que les tablettes avec option LTE sont fabriquées sur demande via le site internet. Ainsi, aucun
exemplaire n’est présent sur le site.

A 12 h 45, Monsieur Houben nous rejoint pour me déclarer qu’il peut obtenir d’un des grossistes (Tech Data), 4
modèles d’ordinateurs comportant la carte LTE. Il ajoute que 15 exemplaires de la tablette YOGA C630 WOS ont
été livrés à BOULANGER mais ignore s’il peut en obtenir un exemplaire.

Il est convenu avec Monsieur Chatard, que les exemplaires vont être rapatriés sur le site de Rueil Malmaison
pour lundi matin (soit le 21 octobre 2019). Les modèles concernés sont :
- X1 Yoga 4ème gén.
- X1 Carbone 7ème gén.
- X390 Yoga
- X390

Avec son accord, il est convenu que nous nous présenterons donc à nouveau lundi 21 octobre 2019 à 9h30 pour
procéder aux analyses des caractéristiques desdits PC.

Ensuite, il m’est donné les explications suivantes par Monsieur Chatard concernant les canaux de distribution des
PC et tablettes argués de contrefaçon.

Il existe 4 canaux de distribution :
- En direct sur le Web via Digital River (société indépendante de Lenovo France)
- En Retail (Grande distribution) : livraisons généralement directes des enseignes depuis la Chine
- Les Grossistes pour les PME/PMI qui sont Ingram, Tech Data, Also et MCA Technologie
- Les grands comptes : commandes passées en direct chez Lenovo pour des configurations spécifiques ou via
     des partenaires dont les 3 principaux sont ComputaCenter, Econocom et SCC

Il est précisé que les livraisons de la Chine sont expédiées dans un centre de logistique situé aux Pays Bas
(Venray).

Concernant les téléphones portables Motorola : le grossiste principal est MODLABS Mobile, 107 rue de la Boétie à
Paris. Lenovo fournit également des téléphones Motorola aux opérateurs Bouygues et Orange en direct.

Monsieur Chatard me précise ne pas être en mesure dans l’immédiat de me communiquer les quantités et les
chiffres relatifs aux ventes des produits argués de contrefaçon visés dans l’ordonnance.
Qu’en outre, il en fait la demande ce jour, auprès des divers services compétents et s’engage par conséquent à
obtenir ces informations, dans la mesure du possible, pour lundi 21 octobre 2019.


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A 14 h, Monsieur BRAUX nous présente les 3 téléphones suivants : Motorola One, Moto G7 play et Moto E5 play.

Je propose à Monsieur Chatard de lui en payer le prix mais il m’indique ne pas être en mesure de me répondre
pour le moment. Il me communiquera le montant lundi lors de notre retour sur le site.

EN possession des 3 téléphones, je procède alors, conformément à l’ordonnance, à la description détaillée de
leurs caractéristiques et de leur fonctionnement.

Toujours conformément à l’ordonnance, je suis en possession d’une carte SIM avec abonnement prépayé
achetée par mes soins auprès de l’opérateur téléphonique ORANGE, conservée dans son emballage fermé
jusqu’au début de mes opérations.




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Je procède à l’ouverture de la carte et en extrais la carte SIM pour la remettre à Monsieur Eric Laurent-Ricard.




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                                              MOTOROLA ONE :

Je prends ci-après les photographies de l’emballage du téléphone portable.




Je constate qu’il s’agit d’un téléphone portable de marque Motorola One Modèle XT1941-4.

Je constate également la mention UMTS apparaissant sur l’étiquette présente sur cet emballage :




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Je procède à l’ouverture de cet emballage et en extrais la notice.

Je constate la mention UMTS. Ci-après photographie de la page concernée :




Il est procédé en premier lieu à la Configuration initiale du téléphone : je décris le démarrage et la configuration
du téléphone mobile réalisée sur mes instructions par Monsieur Eric Laurent-Ricard et prends les clichés
photographiques des différentes étapes.




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Monsieur Laurent Ricard insère la carte SIM dans le téléphone portable :




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La configuration du téléphone est achevée.




Je constate en partie haute sur la droite la mention 4G




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Il est ensuite procédé au paramétrage du téléphone et prends en photographies les différentes étapes réalisées
par Monsieur Laurent-Ricard sur mes instructions :




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Je constate sous cet onglet « Type de réseau préféré » en mode 4G/3G/2G et les capacités du téléphone à se
connecter à 3G

Cette fonction est sélectionnée.




En haut à droite de l’écran, j’observe le changement de réseau 4G/4G+ à 3G ou 3G+ ou H+




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Enfin, il est procédé aux tests suivants : je prends les photographies de chaque étape réalisée par Monsieur
Laurent-Ricard sur mes instructions pour effectuer avec le téléphone portable un appel téléphonique, l’envoi d’un
SMS et un accès à un site web.




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Appel et réception de l’appel téléphonique sur mon portable :




Je constate que le téléphone motorola est toujours connecté au réseau H+.

Il est procédé ensuite au test d’envoi du SMS :




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Envoi et réception sur mon téléphone portable :




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Test de navigation sur Internet :




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Je constate que le réseau utilisé est H+.

Les tests étant terminés, Monsieur l’expert éteint le téléphone et enlève la carte SIM.




                                        MOTOROLA MOTO E5 Play


Concernant le téléphone de marque MOTOROLA modèle Moto E5 play = XT1920-16.




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Je constate la présence de la mention UMTS figurant sur l’étiquette de l’emballage du téléphone.




J’extrais de son emballage le téléphone.

Je procède à l’ouverture de cet emballage et en extrais la notice.

Je constate la mention UMTS. Ci-après photographie de la page concernée :




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Il est procédé en premier lieu à la Configuration initiale du téléphone selon le même procédé que pour le
précédent téléphone par Monsieur Eric Laurent-Ricard.




Cette configuration terminée, je constate que la mention H+ apparait sur le téléphone en partie supérieure
droite :




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Il est ensuite procédé au paramétrage du téléphone et prends en photographies les différentes étapes réalisées
par Monsieur Laurent-Ricard sur mes instructions :




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Je constate sous cet onglet « Type de réseau préféré » en mode 4G/3G/2G et les capacités du téléphone à se
connecter à 3G.

Cette fonction est sélectionnée.




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Enfin, il est procédé aux tests suivants : je prends les photographies de chaque étape réalisée par Monsieur
Laurent-Ricard sur mes instructions pour effectuer avec le téléphone portable un appel télphonique, l’envoi d’un
SMS et un accès à un site web.




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Appel et réception de l’appel téléphonique sur mon portable :




Je constate que le téléphone motorola est toujours connecté au réseau H+.




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Il est procédé ensuite au test d’envoi du SMS ; Envoi et réception sur mon téléphone portable :




Test de navigation sur Internet :




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Je constate que le réseau utilisé est H+.

Les tests étant terminés, Monsieur l’expert éteint le téléphone et enlève la carte SIM.



                                       MOTOROLA MOTO G7 Play


Concernant le téléphone de marque MOTOROLA modèle Moto G7 play = XT1952-1.




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Je constate la présence de la mention UMTS figurant sur l’étiquette de l’emballage du téléphone.

J’extrais de son emballage le téléphone.

Je procède à l’ouverture de cet emballage et en extrais la notice.

Je constate la mention UMTS. Ci-après photographie de la page concernée :




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Il est procédé en premier lieu à la Configuration initiale du téléphone selon le même procédé que pour les
précédents téléphones par Monsieur Eric Laurent-Ricard.




Cette configuration terminée, je constate que la mention 4G apparait sur le téléphone en partie supérieure
droite :




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Il est ensuite procédé au paramétrage du téléphone et prends en photographies les différentes étapes réalisées
par Monsieur Laurent-Ricard sur mes instructions :




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Je constate sous cet onglet « Type de réseau préféré » en mode 4G/3G/2G et les capacités du téléphone à se
connecter à 3G.

Cette fonction est sélectionnée.




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Enfin, il est procédé aux tests suivants : je prends les photographies de chaque étape réalisée par Monsieur
Laurent-Ricard sur mes instructions pour effectuer avec le téléphone portable un appel télphonique, l’envoi d’un
SMS et un accès à un site web.

Appel et réception de l’appel téléphonique sur mon portable :




Je constate que le téléphone motorola est toujours connecté au réseau H+.



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Il est procédé ensuite au test d’envoi du SMS ; Envoi et réception sur mon téléphone portable :




Test de navigation sur Internet :




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Je constate que le réseau utilisé est H+.

Les tests étant terminés, Monsieur l’expert éteint le téléphone et enlève la carte SIM.



Je place les 3 téléphones saisis sous scellé avec leur accessoire et emballage, conformément à l’ordonnance,
afin de les remettre à la requérante ou à tel laboratoire que celle-ci désignera aux fins d’analyses techniques.



Mes opérations de ce jour étant terminées, je suspends ma mission à 18        heures 15 minutes afin de les
reprendre après la mise à disposition des produits.

La première partie du présent procès-verbal de saisie-contrefaçon est dressé sur 45 pages dans les locaux de
Société LENOVO FRANCE dont le siège social est 20 rue des Deux Gares 92500 RUEIL MALMAISON, le tout
pour servir et valoir ce que de droit.
Je laisse copie de cette première partie du procès-verbal de saisie contrefaçon à Mr Chatard Denis.

Signature de Monsieur Eric LAURENT-RICARD, expert en informatique




Signature Mr Chatard en sa qualité de représentante de la société LENOVO France




Maître Caroline BRESSAND
Huissier de Justice Associée




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                       REPORT OF SEIZURE OF COUNTERFEIT GOODS
THE YEAR TWO THOUSAND AND NINETEEN and the OCTOBER SEIZURE
10 hours and 50 minutes



AT THE REQUEST OF:

IPCom GmbH & Co. KG, a company under German law in the form of a Kommanditgesellschaft, having its
registered office at Zugspitzstrasse 15, 82049 Pullach, Germany, registered in the Company Register of Munich
(Germany) under number HRA 93950, represented by its general partner IPCom Beteiligungs GmbH, a company
under German law in the form of a Gesellschaft mit beschränker Haftung, whose registered office is
Zugspitzstrasse 15, 82049 Pullach, Germany, itself represented by its Geschäftsführer (manager) domiciled as
such at that registered office,

Having as lawyers:

SELAS BARDEHLE PAGENBERG
Acting by Maître Julien Fréneaux Attorney at law at the Paris Bar
Residing at 5 rue Boudreau - 75009 Paris


Having his domicile in his firm as well as in my firm.

I, Caroline BRESSAND, Associate Bailiff within the Selarl ATLAS JUSTICE, Bailiffs, at the Tribunal de Grande Instance
of Nanterre, having its registered office at PUTEAUX (92800), 14 Terrasse Bellini and annexe office at ANTONY
(92160), 10 avenue de la Providence, undersigned


Acting pursuant to :

A request for seizure of counterfeit goods filed on 15 October 2019 before the President of the Tribunal de
Grande Instance de PARIS and an order issued by Gilles Buffet, Vice-President acting by delegation of the
President of the Tribunal de Grande Instance de Paris, on 15 October 2019.
Which requests and orders were served today prior to my counterfeit seizure operations.

I went today to the headquarters of the Company LENOVO FRANCE 20 rue des Deux Gares 92500 RUEIL
MALMAISON

Accompanied by:
Mr Eric LAURENT RICARD, IT expert, EXPERACT, 2 rue Maurice Hartmann in ISSY LES MOULINEAUX (92300)
Having signed these minutes.

At 9:45 am, we report to the receptionist and ask to be received by the legal director of LENOVO France.
The hostess tells me that the legal director of Lenovo, Mr. Adrien DIXNEUF, is in Bratislava. She contacts him by phone
so I can talk to him. I tell him my identity and the purpose of my mission. In his absence, I ask him to be received by
the Chief Executive Officer of Lenovo France. He informs me that Mr Eric LALLIER is not currently on the Rueil
Malmaison site. He asks me to wait a few moments in order to find out about the person present at Rueil Malmaison's
premises who would be authorised to receive me.
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At 10:20 am, we are received by a person to whom I disclose my identity, my profession and the purpose of my
mission. He declares me to be the Chief Financial Officer of Lenovo France and to be Denis CHATARD.


After having served the request and the order of which I am the carrier, Mr. Chatard reads it and Mr. Adrien
Dixneuf, to whom the request and the order are sent by e-mail.


At 10:50 a.m., Mr. Chatard and Mr. Dixneuf told me that they were not opposed to the mission.


I thus begin my counterfeiting seizure operations in accordance with the terms of the order of which I am the
holder:


I expressly request that the alleged counterfeit products referred to in the order be presented to me.


Mr. Chatard calls on Mr. Bertrand BRAUX, Lenovo technical manager (mobile phones). He tells me that Motorala
products are sold by Lenovo. He states that he is conducting research to recover the copies covered by the
order.


Mr. Kristof HOUBEN, Lenovo Product Manager, joins us at 11:15 am. He tells me that if laptops are sold in
France, they are sold by wholesalers and that he does not have any computers on the site.


He told me that the tablets with LTE option are manufactured on request via the website. Thus, no copies are
present on the site.


At 12:45 p.m., Mr. Houben joined us to tell me that he could obtain from one of the wholesalers (Tech Data), 4
models of computers with the LTE card. He added that 15 copies of the YOGA C630 WOS tablet have been
delivered to BOULANGER but did not know if he could obtain a copy.

It is agreed with Mr. Chatard that the copies will be repatriated to the Rueil Malmaison site by Monday
morning (i.e. October 21, 2019). The models concerned are:
- X1 Yoga 4th Gen.
- X1 Carbon 7th Gen.
- X390 Yoga
- X390

With his agreement, it was agreed that we would therefore report again on Monday 21 October 2019 at 9.30
am to carry out analyses of the characteristics of the said PCs.

Then, Mr. Chatard explains to me the following information about the distribution channels for PCs and tablets
alleged to be counterfeit.

There are 4 distribution channels:
- Live on the web and delivered directly from China
- In Retail (mass distribution): direct delivery of brands from China
- Wholesalers for SMEs that are Ingram, Tech Data, Also and MCA Technologie
- Key accounts: orders placed directly with Lenovo for specific configurations or via partners, the 3 main ones
being ComputaCenter, Econocom and SCC

It is specified that deliveries from China are shipped to a logistics centre located in the Netherlands
(Venray).

Concerning mobile phones: the main wholesaler is MODLABS Mobile, 107 rue de la Boétie in Paris.
Lenovo also provides Motorola phones to Bouygues and Orange operators directly.

Mr. Chatard tells me that he is not in a position to provide me with the quantities and sales figures of the
alleged counterfeit products referred to in the order in the immediate future.
In addition, it has made a request today to the various competent services and therefore undertakes to
obtain this information, as far as possible, by Monday, 21 October 2019.
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At 2 p.m., Mr. BRAUX introduced us to the following 3 phones: Motorola One, Moto G7 play and Moto E5 play.


I suggest to Mr. Chatard to pay him the price, but he tells me that he is not in a position to answer me at the
moment. He will inform me of the amount on Monday when we return to the site.


In possession of the 3 telephones, I then proceed, in accordance with the order, to the detailed description of
their characteristics and operation.


Also in accordance with the order, I am in possession of a SIM card with a prepaid subscription purchased by
me from the telephone operator ORANGE, kept in its closed packaging until the beginning of my operations.




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I open the card and extract the SIM card from it to give it to Mr Eric Laurent-Ricard.




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                                             MOTOROLA ONE :

Below I take the photographs of the mobile phone packaging.




I see that it is a Motorola One Model XT1941-4 mobile phone.

I also note the mention UMTS appearing on the label on this packaging:




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I open this packaging and extract the instructions.


I note the mention UMTS. Below is a photograph of the page concerned:




First of all, the initial configuration of the phone is carried out: I describe the start and configuration of the
mobile phone carried out on my instructions by Mr Eric Laurent-Ricard and take the photographic pictures of the
different steps.




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Mr Laurent Ricard inserts the SIM card into the mobile phone:




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The phone configuration is complete




I notice in the upper part on the right the mention 4G




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It is then proceeded to the configuration of the telephone and takes pictures of the various steps carried out by
Mr. Laurent-Ricard on my instructions:




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I see under this tab "Preferred network type" in 4G/3G/2G mode and the phone's ability to connect to 3G

This function is selected..




At the top right of the screen, I observe the change from 4G/4G+ to 3G or 3G+ or H+ network




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Finally, the following tests are carried out: I take the photographs of each step taken by Mr Laurent-Ricard on
my instructions to make a telephone call, send an SMS and access a website using the mobile phone.




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Calling and receiving the phone call on my mobile phone:




I notice that the motorola phone is still connected to the H+ network. The

SMS sending test is then carried out:




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Sending and receiving on my mobile phone:




Internet browsing test:




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I notice that the network used is H+.

The tests having been completed, the expert turns off the phone and removes the SIM card.



                                        MOTOROLA MOTO E5 Play


Concerning the MOTOROLA brand phone model Moto E5 play = XT1920-16.




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I notice the presence of the UMTS statement on the label of the phone's packaging.




I take the phone out of its packaging.
I open this packaging and extract the instructions.
I note the mention UMTS. Below is a photograph of the page concerned:




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First, the initial configuration of the telephone is carried out according to the same procedure as for the
previous telephone by Mr Eric Laurent-Ricard.




Once this configuration is complete, I notice that the mention H+ appears on the phone in the upper right
part:




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It is then proceeded to the configuration of the telephone and takes pictures of the various steps carried out by
Mr. Laurent-Ricard on my instructions:




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I see under this tab "Preferred network type" in 4G/3G/2G mode and the phone's ability to connect to 3G.


This function is selected.




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Finally, the following tests are carried out: I take the photographs of each step taken by Mr Laurent-Ricard on
my instructions to make a telephone call, send an SMS and access a website using the mobile phone.




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Calling and receiving the phone call on my mobile phone:




I notice that the motorola phone is still connected to the H+ network.




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It is then proceeded to the test of sending the SMS; Sending and receiving on my mobile phone:




Internet browsing test:




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I notice that the network used is H+.
The tests having been completed, the expert turns off the phone and removes the SIM card.

                                        MOTOROLA MOTO G7 Play


Concerning the MOTOROLA brand phone model Moto G7 play = XT1952-1.




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I notice the presence of the UMTS statement on the label of the phone's packaging. I take the

phone out of its packaging.

I open this packaging and extract the instructions.

I note the mention UMTS. Below is a photograph of the page concerned:




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First, the initial configuration of the telephone is carried out according to the same procedure as for
previous telephones by Mr Eric Laurent-Ricard.




Once this configuration is completed, I notice that the mention 4G appears on the phone in the upper
right part:




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It is then proceeded to the configuration of the telephone and takes pictures of the various steps carried out by
Mr. Laurent-Ricard on my instructions:




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I see under this tab "Preferred network type" in 4G/3G/2G mode and the phone's ability to connect to 3G.
This function is selected.




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Finally, the following tests are carried out: I take the photographs of each step taken by Mr Laurent-Ricard on
my instructions to make a telephone call, send an SMS and access a website using the mobile phone.
Calling and receiving the phone call on my mobile phone:




I notice that the motorola phone is still connected to the H+ network.




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It is then proceeded to the test of sending the SMS; Sending and receiving on my mobile phone:




Internet browsing test:




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     I notice that the network used is H+.

     The tests having been completed, the expert turns off the phone and removes the SIM card.




     I place the 3 phones seized under seal with their accessories and packaging, in accordance with the
     order, in order to give them to the applicant or to such laboratory as the latter may designate for
     technical analysis.




     My operations of this day having ended, I suspend my mission at 5:45 p.m. to resume them after the
     products have been made available.



     The first part of this report of seizure of counterfeit goods is drawn up over 45 pages on the premises
     of LENOVO FRANCE, whose registered office is 20 rue des Deux Gares 92500 RUEIL MALMAISON, all
     to serve and enforce what is right.

     I leave a copy of this first part of the counterfeit seizure report to Mr. Chatard Denis. Signature of Mr
     Eric LAURENT-RICARD, IT expert



     Signature Mr Chatard in his capacity as representative of the company LENOVO France




     Maître Caroline
     BRESSAND
     Associate Bailiff


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